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           EXHIBIT D
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
                                                                                           :7GJ6GN 

                                            JGG>8JAJB0>I6:

                                            


                                     

     ,D7:GI& G>9<:H*GD;:HHDGD;&6L *GD;:HHDGD;8DCDB>8H B:G>IJH
     /C>K:GH>IND;6A>;DGC>6 :G@:A:N ,DDB 
     :G@:A:N 6A>;DGC>6 
    *=DC:  
       6M);;>8:  
    : B6>A9GJ7>C;:A9A6L 7:G@:A:N :9J
    
    *GD;:HHDG (3/&6L-8=DDA  6AA-:B:HI:G 06C9:G7>AI"6AA
     16H=>C<IDC-FJ6G:1:HI (:L3DG@ (3  *=DC:
    9GJ7>C;:A9CNJ :9J  6M  
     JGG:CII:68=>C< CI>IGJHI&6L8DCDB>8H +J6CI>I6I>K:':I=D9H>C&6L
              L>I=%6I=:G>C: DGG:HI

    
              *G>C8:IDC '6I=:B6I>8H   $JC:
                     ' # . 8DCDB>8H ' - -:EI:B7:G
                           ' # . 8DCDB>8H *=  $JC:


   

    -J;;DA@/C>K:GH>IN DHIDC '6HH68=JH:IIH
               JAA I>B:8DCDB>8H#CHIGJ8IDG   
    1:AA:HA:NDAA:<: 1:AA:HA:N '6HH68=JH:IIH
               JAA I>B:8DCDB>8H#CHIGJ8IDG  
    /C>K:GH>IND;'>8=><6C CCG7DG '>8=><6C
             HH>HI6CI*GD;:HHDGD;8DCDB>8H  
             HHD8>6I:*GD;:HHDGD;8DCDB>8H6C9&6L  
             *GD;:HHDGD;8DCDB>8H6C9&6L            
             ,:H:6G8=HHD8>6I: #CHI>IJI:D;*J7A>8*DA>8N-IJ9>:H  
    /C>K:GH>IND;6A>;DGC>6 :G@:A:N  EG:H:CI
             ,D7:GI& G>9<:H*GD;:HHDGD;&6L6C9*GD;:HHDGD;8DCDB>8H  *G:H:CI
    -I6C;DG9/C>K:GH>IN
             0>H>I>C<*GD;:HHDGD;&6L -EG>C<8DCDB>8H6C9*J7A>8*DA>8N
    /C>K:GH>IND;!:C:K6
            0>H>I>C<*GD;:HHDG '6NCI>IGJHI&6L6C98DCDB>8H
    -L>HH(6I>DC6A6C@ -IJ9>:CO:CIGJB!:GO:CH::DC:L::@;DG:68=K>H>I
               0>H>I>C<*GD;:HHDGD;&6L6C98DCDB>8H -EG>C< 8DCDB>8HD;*G>K6I:&6L  
               *DA>I>86A8DCDBND; :9:G6A>HB    DBE:I>I>DC&6L6C98DCDB>8H   
                DBE:I>I>DC&6L6C98DCDB>8H
    (:L3DG@/C>K:GH>IN



                                                
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
               0>H>I>C<*GD;:HHDG *GD;:HHDGD;&6L -EG>C<  6AA            
               +J6CI>I6I>K:':I=D9H>C&6L CI>IGJHI&6L6C98DCDB>8H
      /C>K:GH>IND;0>G<>C>6
             0>H>I>C<*GD;:HHDGD;&6L $6CJ6GN CI>IGJHI&6L6C98DCDB>8H
      /C>K:GH>IND;"6B7JG<
               0>H>I>C<*GD;:HHDGD;&6L '6N  +J6CI>I6I>K:':I=D9H $JC:  CI>IGJHI
               &6L6C98DCDB>8H
      /C>K:GH>IND;:G<:C
               0>H>I>C<*GD;:HHDGD;&6L J<JHI  J<JHI  J<JHI  J<JHI  CI>IGJHI
               &6L6C98DCDB>8H
      6I=DA>8/C>K:GH>IND;*DGIJ<6A &>H7DC
             0>H>I>C<*GD;:HHDGD;&6L EG>A  EG>A  CI>IGJHI&6L6C98DCDB>8H
      %>:K-8=DDAD;8DCDB>8H        
             0>H>I>C<*GD;:HHDG EG>A  


       

      8DCDB>HI -I6;;D;*G:H>9:CIHDJC8>AD;8DCDB>89K>H:GH -JBB:G 
       :EJINHH>HI6CIIIDGC:N!:C:G6A CI>IGJHI>K>H>DC / - :E6GIB:CID;$JHI>8: $JC: :8
              

        

      ':B7:G CCG7DG,:CIDCIGDA-IJ9NDBB>HH>DC 
      DCHJAI6CI /G76C#CHI>IJI: 
      DCHJAI6CI / - .G:6HJGN *GD<G6B>C-I6I:6C9&D86A >C6C8:  
      DCHJAI6CI (6I>DC6A869:BND;-8>:C8:H *6C:ADC.6ME6N:GDBEA>6C8:  
       DCHJAI6CI / - DCHJB:G*GD9J8I-6;:INDBB>HH>DC -6;:IND;
             AA .:GG6>C0:=>8A:H  
      DCHJAI6CI6C9&:8IJG:G  :9:G6A$J9>8>6A:CI:G  EG:H:CI /H:D;-I6I>HI>86A
             C6ANH>H7NI=:DJGIH
      DCHJAI6CI 1DGA96C@-DJI=;G>86'>HH>DC  
      DCHJAI6CI CI>IGJHI>K>H>DC  *&$'$(
      DCHJAI6CI DBE:I>I>DC>G:8IDG6I: JGDE:6C/C>DC     ':G<:G->BJA6I>DC
      &:8IJG:G  :9:G6A.G69:DBB>HH>DC $JC: $JAN   CI>IGJHI8DCDB>8H
       DCHJAI6CI  :9:G6A.G69:DBB>HH>DC CI>IGJHI>K>H>DC :EI D;$JHI>8: K6G>DJH-I6I:IIDGC:NH
              !:C:G6A
      

     

    ,:H:6G8=HH>HI6CI 1>AA>6B! DL:C  
    ,:H:6G8=HH>HI6CI *6JA -6BJ:AHDC 
    DCHJAI6CI ' # . "6GK6G9 $D>CI:CI:G;DG/G76C-IJ9>:H -EG>C<6C9-JBB:G 
    DCHJAI6CI /G76C#CHI>IJI: 
    DCHJAI6CI (6I>DC6A869:BND;-8>:C8:H DBB>II::DCI=:DHIHD;JIDBD7>A:
          B>HH>DCDCIGDA -JBB:G
    DCHJAI6CI (6I>DC6A869:BND;-8>:C8:H *6C:ADC-I6I>HI>86AHH:HHB:CIH6H
          K>9:C8:>CI=:DJGIH 
    DCHJAI6CI (6I>DC6A869:BND;-8>:C8:H *6C:ADC.6ME6N:GDBEA>6C8:  


                                                 
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
      =6>G *GD<G6B>C&6L6C98DCDB>8H /:G@:A:N   D =6>G        
       ':B7:G (6I>DC6A869:BND;-8>:C8:H 1DG@>C<*6C:ADC >:A9ME:G>B:CI6I>DC>CG>B>C6A
               $JHI>8:  
      =6>G *GD<G6B>C$JG>HEGJ9:C8:6C9-D8>6A*DA>8N /  :G@:A:N    
      ':B7:G D6G9D;>G:8IDGH B:G>86C&6L6C98DCDB>8HHHD8>6I>DC      
      -:8G:I6GN .G:6HJG:G B:G>86C&6L6C98DCDB>8HHHD8>6I>DC    
      0>8:*G:H>9:CI B:G>86C&6L6C98DCDB>8HHHD8>6I>DC    
      *G:H>9:CI B:G>86C&6L6C98DCDB>8HHHD8>6I>DC    
      0>8:=6>G -:8I>DCDCCI>IGJHI DBB>II::DC8DCDB>8H  
       ':B7:G (6I>DC6A869:BND;-8>:C8:H (- AJ:,>77DCDBB>HH>DCDC><>I6A*G:H:GK6I>DC 
                


    
    *G>C8:IDC/C>K:GH>IN  '6<C6JB&6J9: *=>:I6%6EE6
    1DD9GDL1>AHDC :AADL 
    (6I>DC6A-8>:C8: DJC96I>DC :AADLH=>E  
    (6I>DC6A-8>:C8: DJC96I>DC>HH:GI6I>DC :AADLH=>E  
    1>CC:G (6I>DC6A.6MHHD8>6I>DC )JIHI6C9>C<D8IDG6A>HH:GI6I>DCL6G9 
    ,:H:6G8= :AADL (6I>DC6AJG:6JD;8DCDB>8,:H:6G8= 6B7G>9<: '6HH68=JH:IIH  
    9>IDG>6AD6G9 *J7A>8 >C6C8:+J6GI:GAN   
    9>IDG>6AD6G9 &6L6C9-D8>:IN,:K>:L    
    9K>HDGN*6C:A (- *GD<G6B>C&6L6C9-D8>6A-8>:C8:  
    9>IDG>6AD6G9 K6AJ6I>DC,:K>:L  
       68JAIN9K>HDGND6G9 /  :G@:A:N :CI:G;DG,:6AHI6I:6C9/G76C8DCDB>8H   
                  
    D 9>IDG #CI:GC6I>DC6A,:K>:LD;&6L6C98DCDB>8H   
    &:8IJG:G 6A>;DGC>6DCI>CJ>C<$J9>8>6A-IJ9>:H*GD<G6B  
    )K:GH><=I*6C:A (- *GD<G6B>C&6L-D8>6A-8>:C8: 
    D6G9D;>G:8IDGH &!  
    D6G9D;>G:8IDGH IA6HHH:IH #C8     
    ':B7:G DGG:HEDC9:CIDBB #CI:GJC>K:GH>INDCHDGI>JB;DG*DA>I>86A-D8>6A,:H:6G8=  
    9>IDG>6AD6G9 &6L6C9-D8>6A#CFJ>GN      
      :AADL :CI:G;DG9K6C8:9-IJ9N>CI=::=6K>DG6A-8>:C8:H  
    #96:6B>HI>C<J>H=:9&:8IJG:G>C&6L6C98DCDB>8H /C>K:GH>IND;#DL6 -EG>C<
    $D=C->BDC!J<<:C=:>B :AADLH=>E 
      68JAIN9K>HDGND6G9 /:G@:A:N JG8=IG ;DG.6M*DA>8N*J7A>8 >C6C8:    
    A:8I:9IDB:G>86C869:BND;GIH6C9-8>:C8:H  
    9K>HDGNDJC8>A '6HI:G*GD<G6BDC&6L8DCDB>8H /C>K:GH>9699:J:CDH>G:H   
    ,:H:6G8=HHD8>6I: &6L-8=DDA JHIG6A>6C(6I>DC6A/C>K:GH>IN   
    9>IDG>6AD6G9 $DJGC6AD;JHIG6A>6C8DCDB>89J86I>DC   
    9>IDG>6AD6G9 .=:,:K>:LD;&6L6C98DCDB>8H   
      :AADL (6I>DC6AJG:6JD;8DCDB>8,:H:6G8=   
    ':B7:G #CI:GC6I>DC6A869:B>8DJC8>A / D;-I !6AA:C '6HI:GH>C&6L8DCDB>8H    
    "DCDG6GND8IDG6I: / D;6H:A (DK:B7:G  
    D 9>IDG $DJGC6AD;&:<6AC6ANH>H     9>IDG>6AD6G9   
    DC8JGG:C8:  CI>IGJHI1G>I>C<L6G9HDB>C6C8:6I:<DGNL>I=$>B,6IA>;;
    9>IDG>6AD6G9 H>6 *68>;>8$DJGC6AD;,:<>DC6A-8>:C8:    
    DC8JGG:C8:  CI>IGJHI1G>I>C<L6G9H/C>A6I:G6ADC9J8I6I:<DGNL>I='>8=6A!6A
     B:G>86CCI>IGJHI#CHI>IJI:$:GGN- D=:C':BDG>6A JC91G>I>C<L6G9  P    
             :HICI>IGJHI6C9*A6I;DGB'6G@:IHGI>8A:L>I='>8=6A!6A


                                               
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
       ,:8:CI%:NCDI:&:8IJG:H
             H>6C&6L6C98DCDB>8HHHD8>6I>DC 6C<@D@ CI>IGJHI6C9><6I6  6AA   
               G:C8=&6L6C98DCDB>8HHHD8>6I>DC (6C8N  G6C8:6I6-I6C96G9>O6I>DC
                    -EG>C<   
             )DBBDCDLC:GH=>E -EG>C<  
       
     

DD@H

          -..#-.#&(&3-#-) )()'#( #((#&. NC6B>8HHHD8>6I:H 
            6B7G>9<:  ,:K>H:99>I>DC  

          )()'.,#')&-()()'# ),-.-L>I=,D7:GI- *>C9N8@ '8!G6L
            ">AA $6CJ6GN -:8DC99>I>DC  -E6C>H= $6E6C:H: 6C9=>C:H:K:GH>DCH6K6>A67A:.=>G9
            9>I>DC   DJGI=9>I>DC  

          --3-)(."&1()()'#-) &)&!)0,('(.-9>IDG )/*
            *6E:GHDC*J7A>88DCDB>8H /G76C#CHI>IJI: :8:B7:G 

          ',#()'-.#*,#),#.#-()()'#**,#-&D :9>IDGL>I=$D=C' 
            +J><A:N /C>K:GH>IND;6A>;DGC>6*G:HH  

          '#,))()'#-L>I=,D7:GI- *>C9N8@ '68'>AA6C  -:8DC99>I>DC  #I6A>6C 
            -E6C>H= 6C9,JHH>6C:9>I>DCH .=>G99>I>DC  *DGIJ<J:H::9>I>DC DJGI=:9>I>DC  
            $6E6C:H: =>C:H::9>I>DCH >;I=9>I>DC      /O7:@ #C9DC:H>6C !:GB6C %DG:6C:9>I>DCH ->MI=
            9>I>DC   -:K:CI=9>I>DC   GD6I>6C  G:C8= .6>L6C:H: 6C96HFJ::9>I>DCH ><=I=
            9>I>DC   (>CI=9>I>DC   

          #'#,)-) .",')(-/',-.1))**)-#(!0#1-L>I=6K>9- K6CH 
             G6C@A>C'  >H=:G 6C9,>8=6G9& -8=B6A:CH:: # GDD@>C<H$D>CI:CI:G;DG,:<JA6IDGN
            -IJ9>:H      

          )()'.,#-&!& *,.#& (."(#&#--/-D :9>IDGL>I=$D=C
            "6G@G>9:G CI>IGJHI-:8I>DC   

 '),.# ,&#-'.")()'#- *)&#.#- (&1)  ,&
            !)0,((L>I=,D7:GI#CB6C *G>C8:IDC/C>K:GH>IN*G:HH   


$DJGC6AGI>8A:H

          G:9>I,6I>C<H6C9I=:'6G@:I;DG!:C:G6A)7A><6I>DC'JC>8>E6ADC9H (6I>DC6A.6M$DJGC6A 
            '6G8= EE   

          .=::I:GB>C6I>DCD;FJ6A>O:906AJ6I>DC'6HH68=JH:IIH6H:-IJ9N *J7A>8 >C6C8:+J6GI:GAN 
            EG>A EE   

          0DI>C<>C6&D86A-8=DDAA:8I>DC'>8GDC6ANH>H ,:K>:LD;8DCDB>8H6C9-I6I>HI>8H 
             :7GJ6GN EE   



                                                   
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
     -J7JG76CBEADNB:CI6C94DC>C<!:C:G6AFJ>A>7G>JBC6ANH>H $DJGC6AD;,:<>DC6A-8>:C8: 
       '6G8= EE   

     ":9DC>8"DJH>C<*G>8:H6C9I=::B6C9;DGA:6C>GL>I=6K>9"6GG>HDC $G  $DJGC6AD;
       CK>GDCB:CI6A8DCDB>8H6C9'6C6<:B:CI '6G8= EE    >C$DH:E=":GG><:H6C96I=N
       %A>C< :9H ,0&*, ,(**,)"-.)(0#,)('(.&0&/.#)(
       0DAJB:## H=<6I:*J7A>H=>C<&>B>I:9   

     .=:&DC< ,JC;;:8IHD;6,:H>9:CI>6A*GDE:GIN.6M6C9&D86A*J7A>8-:GK>8:HL>I= '>I8=:AA
       *DA>CH@N $DJGC6AD;/G76C8DCDB>8H EG>A EE A  G:EG>CI:9>C$D=C'+J><A:N :9 
       .")()'#-) ")/-#(! 9L6G9A<6G  

     )CI=:':6HJG:B:CID;:C:;>IH>C6C/G76CDCI:MI-DB:!:C:G6AFJ>A>7G>JB#HHJ:HL>I=*6JA
       ( DJG6CI $DJGC6AD;/G76C8DCDB>8H $JC: EE   

     .=:>G*DAAJI>DC6C9*GDE:GIN06AJ::76I:-DB:BE>G>86AK>9:C8:L>I=6K>9"6GG>HDC $G  
       ,:K>:LD;8DCDB>8H6C9-I6I>HI>8H (DK:B7:G EE   

     .=:>HIG>7JI>DCD;:C:;>IH;GDB#BEGDK:B:CIH>C/G76C>G+J6A>INL>I=6K>9"6GG>HDC $G  
       $DJGC6AD;CK>GDCB:CI6A8DCDB>8H6C9'6C6<:B:CI :8:B7:G EE   

     .6M&>B>I6I>DC6C9I=::B6C9;DG*J7A>8-:GK>8:H>C'>8=><6CL>I=*6JA( DJG6CI6C99L6G9
       ' !G6BA>8= (6I>DC6A.6M$DJGC6A -JEEA:B:CI $JC: EE   

    *J7A>8BEADN::'6G@:I*DL:G6C9I=:&:K:AD;!DK:GCB:CI-E:C9>C<L>I=*6JA( DJG6CI6C9
       9L6G9' !G6BA>8= B:G>86C8DCDB>8,:K>:L :8:B7:G EE    ,:EG>CI:9>C1 
       *6IG>8@:6IDC:9 '/(##*&2*(#./,-,0(/-(-,0#-(:L
       GJCHL>8@,JI<:GH/C>K:GH>IN  EE A   

    1=N0DI:GH-JEEDGI.6M&>B>I6I>DCB:C9B:CIH.=:'>8=><6C6H:L>I=*6JA( DJG6CI6C9
       9L6G9' !G6BA>8= (6I>DC6A.6M$DJGC6A '6G8= EE A  AHD>C.2(
       2*(#./,&#'#..#)(-" &6996C9( .>9:B6C :9>IDGH )/**6E:GHDC*J7A>8
       8DCDB>8H /G76C#CHI>IJI: A EE   

    )CI=:8DCDB>8HD;0DI:G.JGCDJI>C&D86A-8=DDAA:8I>DCH *J7A>8=D>8:  6AA EE 
        

    1=N0DI:GH.JGC)JI;DG.6M&>B>I6I>DC0DI:HL>I=9L6G9' !G6BA>8=6C9:7DG6=-L>;I 
       (6I>DC6A.6M$DJGC6A '6G8= EE   

    )CI=:1:A;6G:;;:8IHD;.6M&>B>I6I>DCL>I=*6JA( DJG6CI $DJGC6AD;*J7A>88DCDB>8H 
       :8:B7:G EE   

    'JAI>EA:,:<G:HH>DCL>I=6+J6A>I6I>K::E:C9:CI06G>67A: $DJGC6AD;8DCDB>8H6C9JH>C:HH 
       $6CJ6GN EE   

    '>8GDHI>B6I:HD;*J7A>8-E:C9>C<:B6C9 JC8I>DCH6C9.:HIHD;I=:.>:7DJI6C9':9>6C0DI:G
       "NEDI=:H:HL>I=9L6G9' !G6BA>8= $DJGC6AD;*DA>I>86A8DCDBN $JC: EE   

    .=:NC6B>8HD;I=:&:<6A*GD8:HHL>I=&6LG:C8:AJB: $DJGC6AD;&:<6A-IJ9>:H $JC: 
       EE    


                                                
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

    0DI>C<DC*J7A>8-E:C9>C<>;;:G:C8:H7:IL::C*J7A>8BEADN::H .G6CH;:G,:8>E>:CIH 6C9
       *G>K6I:1DG@:GHL>I=9L6G9' !G6BA>8= $DJGC6AD;*DA>8NC6ANH>H6C9'6C6<:B:CI -JBB:G
        EE   ,:EG>CI:9>C*,)&'##''#(#-.,4#)(*/&# (D   
       EE   

     '>8GD 6H:9HI>B6I:HD;:B6C9 JC8I>DCH;DG&D86A-8=DDAME:C9>IJG:HL>I=.=:D9DG: 
       :G<HIGDB6C9*:GGN-=6E>GD 8DCDB:IG>86 (DK:B7:G EE    

    .=:>HIG>7JI>DC6A#BE68ID;-I6I:L>9:*GDE:GIN.6M,:A>:;.=:'>8=><6C6H:L>I='>8=6:A
       1DA@D;; *J7A>8 >C6C8:+J6GI:GAN EG>A EE   

    .=:.6@>C<D;&6C91=:C-=DJA9DBE:CH6I>DC:*6>9L>I=&6LG:C8:AJB:6C9*:GGN
       -=6E>GD +J6GI:GAN$DJGC6AD;8DCDB>8H  :7GJ6GN EE   

    )C:I:GB>C>C<I=:)EI>B6A'6<C>IJ9:6C9&:C<I=D;&>67>A>IN#C.DGIH $DJGC6AD;&:<6A-IJ9>:H 
       J<JHI EE   

    J9<:I,:;DGB6C9I=:.=:DGND; :9:G6A>HBL>I=$D=C+J><A:N B:G>86C8DCDB>8,:K>:L 
       '6N EE   

    .=:;;>8>:C8ND;DBE6G6I>K:(:<A><:C8: $DJGC6AD;&:<6A-IJ9>:H $JC: EE   

    .6M,:;DGB#BEA>86I>DCH;DGI=:-I6I: &D86A*J7A>8-:8IDGL>I=*6JADJG6CI $DJGC6AD;
       8DCDB>8*:GHE:8I>K:H -JBB:G  EE   ,:EG>CI:9>C-6BJ:A6@:G6C96I=:G>C:AA>DI
       :9H ,#(!-#(*/&#-.),)()'#-&:M>C<IDC '6HH68=JH:IIH  ":6I=6C9
       DBE6CN  EE    

    ;;>8>:CIL6G9H6C9-I6C96G9HD;*GDD;>C$J9>8>6A*GD8::9>C<HL>I=6K>9-6EE>C<IDC ,6C9
       $DJGC6A -JBB:G EE    

    .>:7DJI>6H6C9I=::B6C9;DG&D86A*J7A>8-8=DDA>C<L>I=*:GGN-=6E>GD6C9$J9>I=,D7:GIH 
       ,:K>:LD;8DCDB>8H6C9-I6I>HI>8H J<JHI EE   

    .=:1:A;6G:#BEA>86I>DCHD;DHIAN&>I><6I>DC;DGI=:&:K:AD;&>67>A>INL>I= '>I8=:AA
       *DA>CH@N $DJGC6AD;&:<6A-IJ9>:H $6CJ6GN EE   >CA6C) -N@:H:9 )()'#-
       ) .),.&1 A<6G   6C9>C=G>H1>AA>6B-6C8=>G>8D:9  )()'#-) 0#( 
       *,)/, (&#.#!.#)( A<6G   =6EI:G 

     .:HI;DG;;>8>:C8N>CI=:-JEEAND;*J7A>89J86I>DCL>I=.=:D9DG::G<HIGDB *:GGN-=6E>GD
       6C9$J9>I=,D7:GIH $DJGC6AD;*J7A>88DCDB>8H EG>A EE    

    ,D77>C<*:I:GID*6N*:I:G.=:8DCDB>8HD;&D86A*J7A>8,:H>9:C8N,:FJ>G:B:CIHL>I=*6JA
       ( DJG6CI $DJGC6AD;/G76C8DCDB>8H '6N EE    

    .=::I:GG:CI;;:8ID;-:IIA:B:CIH6C9.G>6AHL>I= '>I8=:AA*DA>CH@N #CI:GC6I>DC6A,:K>:LD;
       &6L6C98DCDB>8H $JC: EE    

    '>8GD HI>B6I>DCD;I=::B6C9;DG-8=DDA>C<K>9:C8:;GDB'>8=><6C6C9'6HH68=JH:IIHL>I=
       *:GGN-=6E>GD ,:<>DC6A-8>:C8:6C9/G76C8DCDB>8H $6CJ6GN EE   
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
    /CD7H:GK67A:H>CDCHJB:G=D>8:,:H>9:CI>6AC:G<N6C9I=::B6C9;DGDB;DGIL>I=$D=C
       +J><A:N ,:K>:LD;8DCDB>8H6C9-I6I>HI>8H J<JHI EE   

    8DCDB>8C6ANH>HD;&:<6A>HEJI:H6C9I=:>G,:HDAJI>DCL>I=,D7:GIDDI:G $DJGC6AD;
       8DCDB>8&>I:G6IJG: -:EI:B7:G  EE     ,:EG>CI:9>C,>8=6G9*DHC:G6C9 G6C8:H8D
       *6G>H> :9H )()'# )/(.#)(-) *,#0.&1 9L6G9A<6G*J7A>H=>C<   
       G:EG>CI:9>CG>8 ,6HBJH:C:9  !'."),3(."&1 9L6G9A<6G*J7A>H=>C< 
        

    (DI:DC)EI>B6A*J7A>8C;DG8:B:CIL>I=-:IIA:B:CIH6C9&>I><6I>DCDHIHL>I= ' 
       *DA>CH@N ,:H:6G8=>C&6L6C98DCDB>8H  EE   

    .G>6ADJGIHC8DCDB>8*:GHE:8I>K:L>I=,D7:GI DDI:G &6L6C9-D8>:IN,:K>:L  
       EE    

    'D9:AD;)EI>B6A >C:H;DG,:E:6I);;:C9:GHL>I= '>I8=:AA*DA>CH@N $DJGC6AD;*J7A>8
       8DCDB>8H -:EI:B7:G  EE    ,:EG>CI:9>C*:9:GC9:GH:C 0>7:@:$:CH:C6C9$DG<:C
       >G@'DGI:CH:C :9H !)0,((3&!&()()'#'-/,- DE:C=6<:C 
       !  !69*J7A>H=:GH  EE   

    -I6I>HI>86A6C9:BD<G6E=>8#HHJ:H/C9:GAN>C<0DI>C<,><=IH6H:H K6AJ6I>DC,:K>:L 
       :8:B7:G  EE   

     *G>K6I:!J6G6CI::H;DG'JC>8>E6ADC9HK>9:C8:;GDBI=:;I:GB6G@:IL>I=$D=C' +J><A:N 
       (6I>DC6A.6M$DJGC6A :8:B7:G EE   

     >H86A :9:G6A>HB>CJGDE:&:HHDCH;GDBI=:B:G>86CME:G>:C8:L>I=,D7:GI* #CB6C 
       JGDE:6C8DCDB>8,:K>:L  EE   

    K6AJ6I>C<I=:#C?JGN,>H@HHD8>6I:9L>I=AA .:GG6>C0:=>8A:HCEEA>86I>DCD;6N:H,JA:
       L>I=!G:<DGN ,D9<:GH $DJGC6AD;,>H@6C9/C8:GI6>CIN '6N EE   

    DCI>C<:CI ::H;DGIIDGC:NHC8DCDB>8C6ANH>H L>I=-JO6CC:-8DI8=B:G ,6C9$DJGC6A 
       JIJBC  EE   

    C8DCDB>8'D9:AD;&:<6A>H8DK:GNL>I=,D7:GIDDI:G $DJGC6AD;&:<6A-IJ9>:H $6CJ6GN 
        EE   G:EG>CI:9>C=G>H1>AA>6B-6C8=>G>8D:9  )()'#-) 0#( 
       *,)/, (&#.#!.#)( A<6G   =6EI:G 

    .=:'/6C9 >H86A*DA>8N>CI=:(:LJGDE:6CDBBJC>INC#HHJ:;DG8DCDB>8 :9:G6A>HB
       L>I=,D7:GI#CB6C #CI:GC6I>DC6A,:K>:LD;&6L6C98DCDB>8H $JC:  EE  
       ,:EG>CI:9>C)()'#-) /,)*(&1 *6JA-I:E=6C6C9&:L>H*DL:AA:9H  

    :H><C>C<.6M*DA>8N>C :9:G6A>HI8DCDB>:HC)K:GK>:L L>I=,D7:GI* #CB6C $DJGC6AD;
       *J7A>88DCDB>8H   EE    ,:EG>CI:9>C          GJ8:
       %D76N6H=> &6GGN,>7HI:>C 6C9'6G>:DGB6C :9H  

    CI>IGJHI-:IIA:B:CIH6C9.G>6A)JI8DB:H L>I=$:;;G:N' *:GAD;;6C9*6JA,JJ9 ,:K>:LD;
       8DCDB>8H6C9-I6I>HI>8H  EE     

    )EI>B6AL6G9H6C9*:C6AI>:HL=:CI=:*GD767>A>IND;*G:K6>A>C<06G>:HBDC<*A6>CI>;;H L>I= 


                                                 
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
        '>I8=:AA*DA>CH@N ,6C9$DJGC6A   EE   

      :9:G6A>HB6C9,:9J8I>DCH>CI=: :9:G6AJ9<:I L>I=$D=C' +J><A:N (6I>DC6A.6M$DJGC6A 
          EE    

      ,:I=>C@>C< :9:G6A>HB L>I=,D7:GI* #CB6C $DJGC6AD;8DCDB>8*:GHE:8I>K:H  6AA 
        EE   G:EG>CI:9>C$D=C%>C86>9:9 "     .       
           -6<:   

    D:HI=:C<A>H=,JA:>H8DJG6<:&DL *GD767>A>IN D; *G:K6>A>C<*A6>CI>;;HL>I= '>I8=:AA
        *DA>CH@N $DJGC6AD;&:<6A-IJ9>:H $JC: EE   

     QCI>IGJHIC;DG8:B:CI>CNC6B>8(:ILDG@#C9JHIG>:H R.=:CI>IGJHIJAA:I>C  6AA 1>CI:G 
        EE   .G6CHA6I:96HQ1:II7:L:G7 #CCDK6I>DCJC99>:JG8=H:IOJC<9:H%6GI:AAG:8=IH>C
        9NC6B>H8=:C K:GC:IO:I:C#C9JHIG>:C R>C!,/,#CI:GC6I>DC6A!:L:G7A>8=:G,:8=IHH8=JIOJC9
        /G=:7:GG:8=I#CI:GC6I>DC6A:G.:>A ":;I  

     QBE>G>86A':I=D9H>CCI>IGJHI,:K>:L6C9K>9:C8: RL>I=$DC6I=6C 6@:G B:G>86C&6L
        6C98DCDB>8H,:K>:L  6AA EE   

     .=:*G>B:HI6G8FJ>H>I>DCD;I=:(:LHDGE '#>G:8IGD6986HI-6I:AA>I:HH:IH R,:K>:LD;
        #C9JHIG>6A)G<6C>O6I>DC 0DA  (D  '6G8=  EE    

     Q'6G@:I:;>C>I>DCL>I=>;;:G:CI>6I:9*GD9J8IH.=:*DHI (67>H8D:G:6A':G<:G RCI>IGJHI&6L
        $DJGC6A 0DA  (D     EE   ,:EG>CI:9>C!&)&)'*.#.#)(*)&#3
        )()'#-#--/-(#'*.- 6K>9- K6CH6C9 $DG<:*69>AA6 :9H &!  
        6AHD6K6>A67A:>C*:@>C</C>K:GH>IN #CI:GC6I>DC6A6C9DBE6G6I>K:&6L,:K>:L 0DA  $JAN  
        EE   

     Q-IGJ8IJG>C<#CI:G<DK:GCB:CI6A!G6CIHID&D86A!DK:GCB:CIH&:HHDCH;GDB-DJI=;G>86 R
        DCHI>IJI>DC6A*DA>I>86A8DCDBN 0DA    EE   

     Q6C1::8:CIG6A>O:)JG/C:BEADNB:CI*DA>8>:HK>9:C8:;GDBI=:/C>I:9-I6I:HL>I=,D7:GI
        #CB6C %N@ADH '6G8=  0DA  EE    

     Q/ - K '>8GDHD;I C8DCDB>8C6ANH>HRL>I= G6C@A>C'  >H=:G .=:CI>IGJHIJAA:I>C 
        -EG>C<   EE   

     Q0:GI>86A DG:8ADHJG:>CGD6976C988:HHRL>I="6A$ ->C<:G$DJGC6AD;#C9JHIG>6A8DCDB>8H 
        -:EI:B7:G   0DA  EE   

      Q':G<:G->BJA6I>DC->BEA>;>:9EEGD68=L>I=(:LEEA>86I>DCHRL>I=,DNEHI:>C CI>IGJHI
        &6L$DJGC6A 0DAJB: (D  :8:B7:G  EE   G:EG>CI:9>C-I:;6C0D<I '6MA7:GI 
        6C9>:I:G-8=B>9I8=:C:9H  ."'),)()'#**,)".)/,)*(
        )'*.#.#)(&1 DC;:G:C8:HDCI=:(:L*DA>I>86A8DCDBN .J7>C<:C   

     Q(DI:DC-:IIA:B:CIHJC9:GI=:DCI>C<:CI ::':I=D9D;DBE:CH6I>C<&6LN:GHRL>I= 
        '>I8=:AA*DA>CH@N #CI:GC6I>DC6A,:K>:LD;&6L6C98DCDB>8H 0DAJB: (D  -:EI:B7:G  
        EE   

     QA><C>C<I=:#CI:G:HIHD;&6LN:GH6C9A>:CIHRL>I= '>I8=:AA*DA>CH@N B:G>86C&6L6C9


                                                  
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
        8DCDB>8H,:K>:L 0DAJB: (D  -EG>C<   EE   

     Q':G<:G->BJA6I>DCL>I=G6C9 &:K:A'6G<>C6I6MI:C9>C<*#-L>I=(:HIHRL>I=,DN
        EHI:>C 9K6C8:H>C8DCDB>8C6ANH>H*DA>8N0DA (D  GI>8A: :G@:A:NA:8IGDC>8
        *G:HH '6G8=  

     QM8AJH>DCDG;;>8>:CI*G>8>C<.=:Q><:6ARJC9A>C<D;869:B>8$DJGC6AHRL>I=6GDC- 
        9A>C CI>IGJHI&6L$DJGC6A 0DAJB: (D  J<JHI  EE   

     Q :9:G6A>HB6C9I=::BD8G6I>8.G6CH>I>DC&:HHDCH;GDB-DJI=;G>86RL>I=,D7:GI* #CB6C 
        B:G>86C8DCDB>8,:K>:L 0DA  (D  '6N  EE   G:EG>CI:9>C          
          &       ,>8=6G9*DHC:G6C9 G6C8:8D*6G>H> :9H  
                                                             
     Q.=:JC9A>C<D;869:B>8$DJGC6AHRL>I=6GDC- 9A>C B:G>86C8DCDB>8,:K>:L 0DA  
        (D  '6N  EE   

     Q869:B>8$DJGC6A*G>8>C<6C9I=::B6C9D;&>7G6G>:HRL>I=K>K(:KD6C9'6G@'867: 
        B:G>86C8DCDB>8,:K>:L 0DA  (D  '6N  EE   

     Q6B6<: ,:K:A6I>DC,6I>DC6A:;DGDJEDC,:B:9>:HL>I= '>I8=:AA*DA>CH@N $DJGC6AD;&6L 
        8DCDB>8H)G<6C>O6I>DC 0DA  (D  )8ID7:G  EE   

     Q.=::69L:><=I&DHHD;DJEDC,:B:9>:H;DG*G>8:)K:G8=6G<:HRL>I= '>I8=:AA*DA>CH@N 
        $DJGC6AD;#C9JHIG>6A8DCDB>8H 0DA &0# (D  $JC:  EE    

 Q8DCDB:IG>8#HHJ:H>CCI>IGJHIC6ANH>H R$DJGC6AD;#CHI>IJI>DC6A6C9.=:DG:I>86A8DCDB>8H 0DA 
              EE   
           
 Q/C9:GHI6C9>C</**RL>I=,DN$ EHI:>C   $DJGC6AD;.=:DG:I>86A8DCDB>8H*DA>8>:H6C9
           *:GHE:8I>K:HR0DA  #HHJ:   GI>8A: 

 Q)CA>C:9K:GI>H>C<:;>C>C<,:A:K6CI'6G@:IHRL>I=$6B:H,6IA>;; $DJGC6AD;DBE:I>I>DC&6L
           6C98DCDB>8H -:EI:B7:G    EE   
           
 Q)CI=:*G:IG>6A/H:D;8DCDB>HIH R.=:CI>IGJHIJAA:I>C 0DA  (D   6AA  EE   

 Q :9:G6A#CHI>IJI>DCH6C9I=::BD8G6I>8.G6CH>I>DC&:6GC>C<;GDB-DJI=;G>86 $DJGC6AD;&6L 
           8DCDB>8H 6C9#CHI>IJI>DCH 0DA  #HHJ: )8ID7:G   EE   
           
 Q1DJA9I=:&#AA:<6A.G:6IB:CID;,:K:GH:*6NB:CI-:IIA:B:CIH#C=>7>I!:C:G>8GJ<
           #CK:HIB:CIRL>I=G:I' >8@:N $DJGC6AD;DBE:I>I>DC&6L6C98DCDB>8H 0DA  (D  
             EE   
           
 Q.=:/H:6C9.=G:6ID;#C?JC8I>DCH>CI=:,(DCI:MI R1>I=$6B:H,6IA>;; $DJGC6AD;
           DBE:I>I>DC&6L6C98DCDB>8H '6G8=     
           
 Q/C9:GHI6C9>C<I=::BD8G6I>8.G6CH>I>DC>C-DJI=;G>86 RL>I=,D7:GI#CB6C B:G>86C&6L6C9
           8DCDB>8H,:K>:L $6CJ6GN    
           
 Q>GA>C:(:ILDG@;;:8IH6C9DCHJB:G1:A;6G: RL>I='6G@#HG6:A GN6C%:6I>C< 6C9D77N
           1>AA>< R,:K>:LD;(:ILDG@8DCDB>8H (DK:B7:G    


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
           
 Q':6HJG>C<:C8=B6G@6B6<:H>CCI>IGJHI RL>I=$JHI>C'8G6GN $DJGC6AD;8DCDB:IG>8
           ':I=D9H 0DA  $6CJ6GN    
           
 Q#H.=:G:6'6G@:I;DG)G<6C>8-:6G8=C<>C:,:HJAIH6C96C.=:>G'6C>EJA6I>DC!>K:,>H:ID
           CI>IGJHI&>67>A>INRL>I=$6B:H,6IA>;; $DJGC6AD;DBE:I>I>DC&6L6C98DCDB>8H   
           -:EI:B7:G     
           
 Q.=:">99:CDHIHD; G::!DD9H#BEA>86I>DCH;DGCI>IGJHIC;DG8:B:CI RL>I='>8=6A!6A 
           CI>IGJHI&6L$DJGC6A 0DAJB: #HHJ:     
           
 QCI>IGJHI;DG#CHI>IJI>DC6A#CK:HIDGH RL>I=9L6G9 ,D8@ CI>IGJHI&6L$DJGC6A 0DA  #HHJ: 
             EE   
           
 Q-8>:CI>HIH6HME:GIH-:GK>C<I=:DJGIRL>I=$D:- :8>A 6:96AJH 0DA  #HHJ:  6AA  
           EE   
           
 Q*=6GB68:JI>86A*GD9J8I"DEE>C<#H.=:G:6,DA:;DGCI>IGJHI-8GJI>CNRL>I=G:I>8@:N6C9
           %JC"J6C< CI>IGJHI&6L$DJGC6A 0DA    EE    
           
 QDBBDC)LC:GH=>E6C9DDG9>C6I:9;;:8IHRL>I=9L6G9 ,D8@ CI>IGJHI&6L$DJGC6A 0DA 
            #HHJ:   EE    
           
 Q,:IGDHE:8I>K:DC*&$'$(1=ND:H#I,:HDC6I:.D96NRCI>IGJHIJAA:I>C   EE 
           
           
 Q6I6*DGI67>A>IN R*#CI>IGJHI=GDC>8A: (DK:B7:G   EE   

           
&6L,:K>:LGI>8A:H                                      

         Q.=:$J9>8>6A*JGHJ>ID;&D86A >H86AFJ>INL>I=,D7:GI* #CB6C "6GK6G9&6L,:K>:L $JC:
            0DA  EE   G:EG>CI:9>CAA>8@HDC6C9.6GAD8@ &6C9 /H:DCIGDAH6H:6C9
           '6I:G>6AH &>IIA: GDLC 

         Q+J6CI>I6I>K:C6ANH>H>CCI>IGJHI&>I><6I>DCL>I=*:I:G) -I:>C:G &6L6C9DCI:BEDG6GN
           *GD7A:BH JIJBC EE   

         QDBE:CH6I>DC;DG.6@>C<HC8DCDB>8C6ANH>HL>I=&6LG:C8:AJB: 6A>;DGC>6&6L
           ,:K>:L $JAN  EE   AHD>CJHI>C$6;;::9 ,-,"#(&1(
           )()'#- 0DAJB:  EE   6HL:AA6H%:CC:I=! 6J -8=B>9I6C9.=DB6H- 
           /A:C:9H  &1()()'#-(.")&)!3  **   

         Q8DCDB:IG>8H>CI=:DJGIGDDB DAJB7>6&6L,:K>:L 0DAJB: $JC: EE     

         Q.=:HH><CB:CID;.:BEDG6GN$JHI>8:H>CI=:6A>;DGC>6-JEG:B:DJGIL>I=-I:E=:C6GC:II 
           *68>;>8&6L$DJGC6A $JAN EE    

         Q,:<JA6IDGN.6@>C<H.=:6H:D;'D7>A:"DB:,:CIDCIGDA =>86<D%:CI&6L,:K>:L 0DA  
           (D   6AA EE   



                                                   
        Case 4:20-cv-05640-YGR Document 450-4 Filed 04/14/21 Page 12 of 18



     Q-6C8I>DC>C< G>KDADJH-J>IHC8DCDB>8C6ANH>HL>I= '>I8=:AA*DA>CH@N !:DG<:IDLC&6L
       $DJGC6A 0DA  (D  :8:B7:G EE   IG6CHA6I:96HQ&>I>.:B:G6G>:-6CO>DC>
       !>J9>O>6G>:/CTC6A>H>8DCDB>86R ,>K>HI6G>I>869:A>G>IID*G>K6ID 

     Q,:;DGB>C<I=:(:L>H8DK:GN,JA:HL>I=,D7:GIDDI:G !:DG<:IDLC&6L$DJGC6A 0DA  (D 
        (DK:B7:G EE   

     Q'6@>C<-:CH:D;I=:CI>IGJHI-I6I:8I>DCD8IG>C:6A6C8>C<*DA>I>86A*6GI>8>E6I>DC6C9
       8DCDB>8H;;>8>:C8N>C,:<JA6IDGN :9:G6A>HBL>I=,D7:GI#CB6C .:M6H&6L,:K>:L 0DA  
       '6N EE    

    Q)C :9:G6A>HB6C98DCDB>8:K:ADEB:CI 0>G<>C>6&6L,:K>:L 0DA  (D  )8ID7:G 
       EE   

    Q)E:C88:HHIDGD6976C9(:ILDG@H6H:-IJ9ND;I=:)& .>B:16GC:G':G<:GRL>I="6A$ 
       ->C<:G :G@:A:N.:8=CDAD<N&6L$DJGC6A 0DA  (D  -EG>C<  EE   

    Q'THJC9A:9,:76I:HC8DCDB>8*:GHE:8I>K: R=>86<D&6L,:K>:L 0DA    EE 
        

 QCI>IGJHIA6HH:GI>;>86I>DC.DL6G9H6C8DCDB>8 G6B:LDG@RL>I=G:I' >8@:N ( 3 / 
           CCJ6A-JGK:ND;B:G>86C&6L 0DA  (D    EE   
           
 Q88:HH6GG>:GHID><6I6RL>I='>8=6A!6A G>ODC6&6L,:K>:L 0DA  -JBB:G  EE 
             
           
 Q#**G>K6I::G>C<>CI=:'6G@:IH;DG:H@IDE6C9-B6GIE=DC:)E:G6I>C<-NHI:BH R:G@:A:N
           .:8=CDAD<N&6L,:K>:L 0DA    EE   
           
 Q6I6-I6C96G9>O6I>DC R(3/&6L,:K>:L 0DA  )8ID7:G   EE   


GI>8A:H>CDD@H

         QG:9>I,6I>C<H DC9:;6JAIH 6C9'JC>8>E6ADGGDL>C<DHIH(:LC<A6C9-IJ9N 
           *,)#(!-) ."-#2.3 # ."((/&)( ,()(.2.#)( (6I>DC6A
           .6MHHD8>6I>DC  EE   

         Q*GDE:GIN.6M6I>DC  JAA06AJ6I>DC 6C9I=:,:;DGBD;9J86I>DC6A >C6C8:>C'6HH68=JH:IIH >C
           *,)*,.3.2.#)((." #(() /.#)( DBB>II::DC.6M6I>DC 
           ,:HDJG8:H6C98DCDB>8:K:ADEB:CI/C>K:GH>IND;1>H8DCH>C*G:HH  EE    

         Q*GDE:GIN06AJ:H6C9I=::C:;>IHD;CK>GDCB:CI6A#BEGDK:B:CIH.=:DGN6C9':6HJG:B:CIL>I=
            '>I8=:AA*DA>CH@N >C1>C<D6C9K6CH :9H */&#*)&#3(."+/&#.3) &# 
           #(#.#-$D=CH"DE@>CH*G:HH;DG,:HDJG8:H;DGI=: JIJG:  EE A A 

         Q'6G@:IEEGD68=:HIDI=:':6HJG:B:CID;I=::C:;>IHD;>G*DAAJI>DC76I:B:CI >CCC
             G>:9A6:C9:G :9 **,)"-.))(.,)&&#(!#,*)&&/.#)(' # . *G:HH  EE 
             

         Q$J9>8>6AEEGD68=:HID&D86A*J7A>8 -:8IDGFJ>INC8DCDB>8C6ANH>H >C*:I:G'>:HO@DLH@>


                                                
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
       6C9'6=ADC-IG6HO=:>B :9H /,,(.#--/-#(/,()()'#-$D=CH"DE@>CH
       *G:HH  EE   

     Q.=:-I>BJA6I>K:;;:8IHD;#CI:G<DK:GCB:CI6A!G6CIH)G1=N'DC:N-I>8@H1=:G:>I">IHL>I=
       *6JA( DJG6CI6C99L6G9' !G6BA>8= >C*:I:G'>:O@DLH@>6C91>AA>6B)6@A6C9 :9H 
        #-& ,&#-'(!,(.- #( # )/**6E:GHDC*J7A>88DCDB>8H /G76C
       #CHI>IJI:  EE   

     Q)C-JE:G G6I>DC6A>IN6C9I=:-8=DDA0DI>C<*GD8:HH >CA>;;DG9,JHH:AA :9 )&&.#0
       #-#)( '%#(!$D=CH"DE@>CH*G:HH  EE   

     Q*GDE:GIN.6M,:9J8I>DC>C'>8=><6CL>I=,D7:GI0>H=CN>C" G6O:G6C9 &6G:C :9H 
       '#"#!(- #-&()()'#-.,/./,/C>K:GH>IND;'>8=><6C*G:HH  EE 
         

     Q.6MHH><CB:CI6C9,:K:CJ:-=6G>C<>CI=:/C>I:9-I6I:H >C, '6I=:LH6C9 '8&JG: :9H 
       .2--#!('(.#( ,&)/(.,#- JHIG6A>6C(6I>DC6A/C>K *G:HH  EE  
        

     Q,:H>9:CI>6A=D>8:6C9I=::B6C9;DG*J7A>89J86I>DCHI>B6I>DC/H>C<-JGK:N6I6L>I=
       *:GGN-=6E>GD6C9$J9>I=,D7:GIH >C" .>BB:GB6CH6C9, !DAA:9<: :9H "0#),
       ')&&#(!**,)"-#(!)!,*"3(*&((#(! GDDB":AB  EE 
         

    Q.=:8DCDB>8HD;I=:&D86A*J7A>8-:8IDG >C J:G768=6C9'  :A9HI:>C :9H "())%
       ) */&#)()'#- 0DAJB:##  EE   

    Q-:IIA:B:CIH>C*G>K6I:CI>IGJHI&>I><6I>DCL>I=$:;;G:N*:GAD;;>C& 1=>I::9  *,#0.
       (.#.,/-.&#.#!.#)( ' # . *G:HH  EE   

    Q :9:G6A>HI >H86ADCHI>IJI>DC;DG6C#BE:G;:8I1DGA9&:HHDCH;GDBI=:/C>I:9-I6I:H >C" ( 
       -8=:>7:G:9  ,&#-' -./#-#("#-.),3 &1 (*)&#3 #CHI>IJI:D;
       !DK:GCB:CI6A-IJ9>:H /  :G@:A:N  EE   

    Q*J7A>8=D>8:H>C*J7A>8"><=:G9J86I>DC L>I=$D=C+J><A:N>C=6GA:HADI;:AI:G6C9'>8=6:A
       ,DI=H8=>A9 :9H .")()'#-) "#!",/.#)( (6I>DC6AJG:6JD;8DCDB>8
       ,:H:6G8=  EE   

    QJGDE:6C&67DG'6G@:IH.=:6HI:GC>B:CH>DCL>I=$6HB>C@6-D=>C<:G>C1 >8@:CH  
       >8=:C<G::C 6C9& /AB6C:9H &),,-*)(--.)/,)*(#(.!,.#)( 
       GDD@>C<H#CHI>IJI>DC  EE   

    Q,:;:G:C8:!J>9:DC'JAI>EA:,:<G:HH>DC >C :9:G6A$J9>8>6A:CI:G , ,('(/&)(
       -#(.# #0#(  EE   -:8DC99>I>DC            EE  6K6>A67A:6I
       =IIE LLL ;?8 <DK EJ7A>8 E9; CH; ADD@JE  BJAI5G:< E9;  >A:  BJAI5G:< E9; .=>G99>I>DC 
         

    Q6A>;DGC>6 >H86A :9:G6A>HB-8=DDA >C6C8:*:GHE:8I>K: >C 6>C6C9, (DAA:9H  
       )(-.#./.#)(&, ),'#(&# ),(# #CHI>IJI:D;!DK:GCB:CI6A-IJ9>:H /:G@:A:N 
        EE   



                                                 
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
      Q.=:*DA>I>86A8DCDBND; :9:G6A>HB L>I=,D7:GI#CB6C >C 'J:AA:G:9  *,-*.#0-
         )(*/&#")# 6B7G>9<:/C>K:GH>IN*G:HH (:L3DG@  EE    

      Q :9:G6A>HB6H6:K>8:;DG,:9J8>C<I=:J9<:ID;I=::CIG6A!DK:GCB:CI L>I=$D=C' 
         +J><A:N >C #-&*)&#3&--)(- ,)')()'#,-," A6CJ:G768=:9  
         ' # . *G:HH  

       Q!J>9:ID'JAI>EA:,:<G:HH>DC >C 6><B6C %6N: -6@H 6C9-6C9:GH:9  '),(-#(.# #
         0#(."&1(-#() 2*,..-.#')(3 1:HI*J7A>H=>C<D -I 
         *6JA '>CC  0DA  EE   -:8DC9:9>I>DC    

      Q>H8DK:GN >C."(1*&!,0#.#)(,3) )()'#-(."&1 *:I:G
         (:LB6C:9  '68'>AA>6C,:;:G:C8:&I9  EE    

      QDCI>C<:CI ::HL>I=-JO6CC:-8DI8=B:G >C."(1*&!,0#.#)(,3) 
         )()'#-(."&1 *:I:G(:LB6C:9  '68'>AA>6C,:;:G:C8: &I9  EE 
          

      Q :9:G6A>HB L>I=,D7:GI#CB6C >C."(3&)*#) &1()()'#- 
         DJ9:L>?CDJ8=6:GI6C9!:GG>I:!::HI :9>IDGH       0DAJB:0 EE   6K6>A67A:DC A>C:6I
         =IIE :C8N8AD ;>C9A6L 8DB G:EG>CI:9>C G6C8:H8D*6G>H> :9 *,)/.#)() &!&,/&- 
         =6EI:G 9L6G9A<6G   EE   

     Q-J7H>9>6G>IN6C9I=:JGDE:6C/C>DCL>I=,D7:GI#CB6C >C."(1*&!,0
         #.#)(,3) )()'#-(&1 *:I:G(:LB6C:9  '68'>AA6C,:;:G:C8:&I9 
          EE   

      Q/C>I:9-I6I:HK '>8GDHD;IC8DCDB>8C6ANH>HRL>I= G6C@A>C'  >H=:G EE   6C9
         Q'>H8DC8:EI>DCH '>H9>G:8I>DCH 6C9'>HI6@:H REE   >CK6CH  >H=:G ,J7>C;:A9 6C9
         -8=B6A:CH:: #'#,)-) .",')(-/',-.1))**)-#(!0#1- #
         GDD@>C<H$D>CI:CI:G;DG,:<JA6IDGN-IJ9>:H     CJE96I:96C9G:K>H:9K:GH>DC6EE:6GH>C
         CI>IGJHIJAA:I>C -EG>C<   

      QCHJG>C< 6>G6C9;;>8>:CI88:HHIDI=:.:A:8DBBJC>86I>DCHSDIIA:C:8@T RL>I=,D7:GI'6?JG: 
         >CA6JH >:I:G=A:GB6CC6C9&DJ>H6!DHA>C<:9H  ."#,)'*.#.#)(&1((/&
         ,:<JA6I>C<.:A:8DBBJC>86I>DCH"6GI*J7A>H=>C<)M;DG9 

      Q#CCDK6I>DC6C9CI>IGJHIC;DG8:B:CIRL>I=$D=C"DK:C >C$:GGNAA>< :9 3('#
         )'*.#.#)((*/&#*)&#3."()&)!3 #(()0.#)( ((.#.,/-.
         #--/-(:L3DG@6B7G>9<:   EE   

      Q88:HH,:B:9>:H>C"><=.:8=CDAD<NCI>IGJHI6H:H R>C G6C8D>H&:K:FJ:6C9"DL6G9
         -=:A6CH@> :9H ',!,,'#-#(',#((/,)*()'*.#.#)(&1
          =:AI:C=6B / % 9L6G9A<6G EE   
         
      Q'6>CI:C6C8:D;'DCDEDAN*&$'$( R>C$D=C %LD@6 $G 6C9&6LG:C8:$ 1=>I: :9H 
         ."(.#.,/-.,0)&/.#)( 9>I>DC  (:L3DG@)M;DG9/C>K:GH>IN*G:HH EE 
          9>I>DC   9>I>DC   

     Q.=:-IG6I:<>8/H:D;*6I:CIH#BEA>86I>DCH;DGCI>IGJHIRL>I=,D7:GI'6C:HH >C G6C8D>H&:K:FJ:
         6C9"DL6G9-=:A6CH@> :9H (.#.,/-. *.(.-()*3,#!"./(/-


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         Case 4:20-cv-05640-YGR Document 450-4 Filed 04/14/21 Page 15 of 18


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         *,-*.#0-  =:AI:C=6B / % 9L6G9A<6G EE    
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     QCBE>G>86A*:GHE:8I>K:DC&:<6A*GD8:HH-=DJA9JGDE:#CIGD9J8:*G>K6I:CI>IGJHI
         C;DG8:B:CIR>C*:I:G(D7:A6C9'6G>C6!:IH :9H (1 ,)(.#,-) &1(
         )()'#-  4JG>8= -L>IO -8=JAI=:HH EE   
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        QBE>G>86A-IJ9ND;I=:>K>A$JHI>8:-NHI:BRL>I=6C>:A* %:HHA:G   >C*DA>CH@N6C9-=6K:AA
            :9H  "())%) &1()()'#-=6EI:G EE    
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  Q*&$'$(&:HHDCH&:6GC:96C9#HHJ:H,6>H:9L>I= DJ<A6H':A6B:9 >CA:6CDG' 
              DM6C96C>:A G6C: :9H CI>IGJHI-IDG>:H DJC96I>DC*G:HH(:L3DG@   EE   
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   Q+J6CI>I6I>K:':I=D9H>CCI>IGJHI R=6EI:G >C16NC: DAA>CH:9  #--/-#(
            )'*.#.#)(&1(*)&#3 CI>IGJHI-:8I>DC   

   Q)CI=: DJC96I>DCHD;CI>IGJHI&6L6C98DCDB>8H R>C,D7:GI*>ID;H@N :9 1",."
            "#!)-"))&)0,-").."',% .) )(-,0.#0)()'#
            (&3-#-)(/ - (.#.,/-. )M;DG9/C>K:GH>IN*G:HH   EE   
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  QK6AJ6I>C<CI>IGJHIC;DG8:B:CI8DCDB>8 DJC96I>DCH R=6EI:G>C6GGN"6L@ :9 
            #(.,(.#)(&(.#.,/-.&1*)&#3  DG9=6B/C>K:GH>IN-8=DDAD;&6L   EE 
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  Q-:IIA:B:CIH>CCI>IGJHIC;DG8:B:CI/ - 8DCDB>8*:GHE:8I>K: R>CA6JH >:I:G=A:GB6CC
            6C9':A'6GFJ>H:9H  /,)*()'*.#.#)(&1((/& (.#.,/-.
            -..&'(.-/(,)'*.#.#)(&1 "6GI*J7A>H=>C< )M;DG96C9*DGIA6C9   
            EE   
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  QAI:GC6I>K:8DCDB>8:H><CH;DG869:B>8*J7A>H=>C< RL>I=.=:D9DG: :G<HIGDB >C
            ,68=:AA:G:N;JHH "6GGN >GHI 6C9>6C:4>BB:GB6C :9H 1),%#(!1#."#(."
            )/(,#-) #(.&&./&*,)*,.3 )M;DG9/C>K:GH>IN*G:HH   EE   
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  Q,:K>H>C<I=:"DG>ODCI6A':G<:G!J>9:A>C:H&:HHDCH;GDBI=:/ - 6C9I=: / L>I=,>8=6G9
            !>A7:GI >C 6JG: ' 6C94=6C< 2 :9H  )'*.#.#)(*)&#3(,!/&.#)(
            ,(.0&)*'(.-#("#( /,)*(."/- =:AI:C=6B 9L6G9A<6G 
              EE   
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  QCI>IGJHI6B6<:H R=6EI:G >C>C:GA=6J<: :9 ,-,""())%)(."
            )()'#-) (.#.,/-.&1 9L6G9A<6G   EE   
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  QJGG:CI#HHJ:H>CCI>IGJHIC6ANH>H R>C$DH:;G:MA 1DA;<6C<%:G7:G 6C9,JEEG:8=I*D9HOJC 
            :9H )'*.#.#)(*)&#3(.")()'#**,)" )/(.#)(-(
            &#'#..#)(- /%9L6G9A<6G   EE   
            
  Q:AI6 (DGI=L:HI':G<:GEEGDK6AG>K:C7NDCHJB:G:C:;>IH;GDB>GA>C:(:ILDG@;;:8IH R
            L>I='6G@#HG6:A GN6C%:6I>C< 6C9,D7:GI1>AA>< >C$D=C%LD@66C9&6LG:C8:1=>I: :9H 
            ."(.#.,/-.,0)&/.#)(   
            
  Q1=N16HI=::BD8G6I>8.G6CH>I>DC>C-DJI=;G>860>67A:L>I=,D7:GI#CB6C >C3JC =>:C
            =6C< :9 '*#,#&&!&(&3-#-----#(!."#'*),.() &!&
            #(-.#./.#)(-   


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            
  QCI>IGJHI-:IIA:B:CIH R>C,D<:GA6>G6C96CCN-D@DA:9  )2 ),"())%)(
            #(.,(.#)(&(.#.,/-.   =6EI:G EE   
            
  QCI>IGJHI*DA>8N&:HHDCH;GDBI=:/ - R>C$6B:H 1G><=I:9    #(.,(.#)(&
            (3&)*#) ."-)#&("0#),&-#(-9>I>DC 0DAJB: 
            )M;DG9AH:K>:G EE    
            
  Q#BEGDK>C<CI>IGJHI-6C8I>DCH R>CDJ<A6H" !>CH7JG<6C9$DH=J6 1G><=I:9H  !&)&
            (.#.,/-.)()'#-/,,(.#--/-#((.#.,/-.(&1)()'#- 
            DC8JGG:C8:H,:K>:L   EE    
            
  Q8DCDB>8HD; :9:G6A>HB RL>I=,D7:GI#CB6C )2 ),"())%) &1(
     )()'#-   0DAJB:###*/&#&1(&!&#(-.#./.#)(- EE    
     
  Q.=:CI>IGJHI.G:6IB:CID;-I6C96G9HH:CI>6A*6I:CIH.=:/KH I=:/- R>C(>8DA6H=6G7>I6C9
            -DC>6=B69 :9H  ,#$((3-.(#(!/* ),)(0,!((
            ,&0(#((.#.,/-.   0DAJB: EE   
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  QCI>IGJHIC;DG8:B:CI>CI=:/ - 6C9I=:/DBE6G>HDCD;I=:.LD :9:G6A-NHI:BH R
              >C,)(#&#(! ##(3(+/#.3!&)&"&&(! ),
            )'*.#.#)(*)&#3 6B>:C!:G6G96C9#D6CC>H&>6CDH :9H 6B7G>9<:/C>K:GH>IN*G:HH 
              =6EI:G EE   
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  Q':G<:GEDA>8N;DG9:K:ADE>C<8DJCIG>:H#HI=:G:6HE:8>6AGDA:;DGI=:,#-8DJCIG>:H#C
            (.#.,/-.#(0&)*#(!(',!#(!)()'#- DC8JGG:C8:H DBE:I>I>DC&6L
            ,:K>:L   EE   
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)I=:G
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          Q/G76C&6C906AJ:H.=:DG:I>86A6C9BE>G>86AHH6NH $D>CI:CI:GD;/G76C-IJ9>:H 
            ' # . "6GK6G9 -:EI:B7:G EE   

          Q1=6ID.6M&>B>I6I>DC0DI:H':6CL>I=*6JA( DJG6CI6C99L6G9' !G6BA>8= >C&6L
            +J69G6C<A:(DI:H /C>K:GH>IND;'>8=><6C&6L-8=DDA -EG>C< EE   

          DD@,:K>:L Q-IJ9>:H>C-I6I: &D86A*J7A>8 >C6C8: "6GK:N,DH:C :9  $DJGC6AD;8DCDB>8
            &>I:G6IJG: :8:B7:G EE   

          DD@,:K>:L QB:G>86H>A>C<>I>:H >H86A":6AI=6C9I=::H><CD;/G76C*DA>8N ":A:C 
            &6996C9$D=C3>C<:G $DJGC6AD;8DCDB>8&>I:G6IJG: :8:B7:G EE   

          DBB:CIHDC-8DI8=B:G Q*J7A>8!DD9H6C9I=:#CK>H>7A:"6C9 >C$D=C' +J><A:N6C9J<:C:
            -BDA:CH@N:9H  '),(*/&# #(("6GK6G9/C>K:GH>IN*G:HH EE   

          Q':G<:GH6C9)I=:GDBE:I>I>DC*DA>8N#HHJ:H>C6C@>C< L>I=!:DG<:,DO6CH@> EE:C9>MID
            C=6C8>C<I=:,DA:D;DBE:I>I>DC>CI=:,:<JA6I>DCD;6C@H /C>I:9-I6I:H 6CDI:HJ7B>II:9ID
            I=:>G:8IDG6I:;DG >C6C8>6A  >H86A6C9CI:GEG>H:;;6>GH DBB>II::DCDBE:I>I>DC&6L6C9
            *DA>8N )G<6C>O6I>DC;DG8DCDB>8DDE:G6I>DC6C9:K:ADEB:CI  :7GJ6GN  
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      DBB:CI Q*GD9J8I6C9-ID8@'6G@:I,:HEDCH:HIDJIDBDI>K:*GD9J8I&>67>A>IN0:G9>8IH R7N
        -I:K:C!6G7:G6C9$D=C96BH  &$$ #'%&'$# $#$"(*(-&$$#$"' 
        16H=>C<IDCGDD@>C<H#CHI>IJI>DC 
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      :8A6G6I>DC7:;DG:I=: >CI=:'6II:GD;EEA>86I>DCH;DGDCH:CIIDI=:.G6CH;:GD;DCIGDAD;
        &>8:CH:H':9>6)C:!GDJE #C8 .G6CH;:GDGID..DGE .G6CH;:G::L>I=$ !G:<DGN->96@ 
        J<JHI G:7GD6976C9>CI:GC:I688:HH 

      ;;>96K>IID #CG:DCHDA>96I:9EEA>86I>DCD;8=D-I6GDBBJC>86I>DCHDGEDG6I>DC !:C:G6A
        'DIDGHDGEDG6I>DC "J<=:HA:8IGDC>8HDGEDG6I>DC .G6CH;:GDGH 6C98=D-I6GDBBJC>86I>DCH
        DGEDG6I>DC .G6CH;:G:: ;DGJI=DG>INID.G6CH;:GDCIGDA  :7GJ6GN  G:9>G:8I7GD6986HI
        H6I:AA>I:8DBE:I>I>DC6C9I=:B6G@:I;DGBJAI> 8=6CC:AK>9:D9>HIG>7JI>DC 
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      (($+$& (!*&$'$( B>8JHG>:;L>I=.>BDI=NG:HC6=6C ,>8=6G9$ !>A7:GI 
        !:DG<:"6N GJ8:)L:C 6C9&6LG:C8:$ 1=>I: $JC:  
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     Q-J7H>9>6G>IN !DK:GC6C8: 6C9/8DCDB>8*DA>8N RL>I=,D7:GI* #CB6C ->;D DGJB 
        0DAJB: (D  1>CI:G  EE   LLL 8:H>;D 9: 
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     B>8>JG>6:-J7B>HH>DCIDI=:/ - -JEG:B:DJGI>C-JEEDGID;*:I>I>DC;DG:GI>DG6G>>C $#+$$
         $*$$ $8DC8:GC>C<I=:69B>HH>7>A>IND;HI6I>HI>86A:K>9:C8:L>I=-I:E=:C >:C7:G< 
         G6C@A>C >H=:G 6C96C>:A'8 699:C (DK    

     Q.=:-I6I:D;CI>IGJHIC;DG8:B:CI  8D 6JI=DG:9 RCI>IGJHI-:8I>DC.6H@ DG8: 

     Q;;:8IHD;':G<:GHL>I=>;;:G:CI>6I:9*GD9J8IHL>I=,DN$ EHI:>C R/DBE:I>I>DC>G:8IDG6I: 
        )8ID7:G   6K6>A67A:6I=IIE :JGDE6 :J >CI 8DBB 8DBE:I>I>DC B:G<:GH DI=:GH       

     Q.=:B:G>86C&6L6C98DCDB>8HHHD8>6I>DC R>C6K>9A6G@:9  #-!$%$+#
        $(--6<:*J7A>86I>DCH   

        QBE>G>86A':I=D9H>CCI>IGJHI(:L:K:ADEB:CIH>C':G<:G->BJA6I>DC R>C-I:;6C0D<I '6M
           A7:GI6C9>:I:G-8=B>9I8=:C:9H  ."'),)()'#**,)".)/,)*(
           )'*.#.#)(&1 DC;:G:C8:HDCI=:(:L*DA>I>86A8DCDBN .J7>C<:C   EE   
           
 Q1=N :9:G6A>HB'6II:GH#BEA>86I>DCH;DG.6M*DA>8N RL>I=,D7:GI#CB6C Q*GD8::9>C<HD;I=:
           '6G8=   -=D-6IDDC;:G:C8:DC.6M&6L -D8>6A*DA>8N 6C9I=:8DCDBN R
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 Q-JHI6>C67A:8DCDB>8H;DG6><>I6A*A6C:ICHJG>C<&DC< I:GB88:HHID><>I6A#C;DGB6I>DC
           K6G>DJH8D 6JI=DGH  :7   ,:EDGID;I=:AJ:,>77DC.6H@ DG8:DC><>I6A*G:H:GK6I>DC6C9
           88:HH 6K6>A67A:6I=IIE 7GI; H9H8 :9J 7>7A>D ,. 5 >C6A5,:EDGI E9; 
           
 DD@,:K>:L"6GGN >GHI6C9C9G:L# !6K>A Q.=:'>8GDHD;ICI>IGJHI6H:HR$DJGC6AD;
           8DCDB>8&>I:G6IJG: 0DAJB: #HHJ:   EE   
           
 B>8JHJG>6:-J7B>HH>DCIDI=:/ - -JEG:B:DJGI>C!$ #!$-'#'(!*
           ,'! $&(! L>I=DI=:G6CI>IGJHI6C98DBE:I>I>DCEDA>8NH8=DA6GH>CHJEEDGID;
           *A6>CI>;;H EE:AA::H -:EI:B7:G   
           
  Q-DB:.=DJ<=IHDC6GI:A-6C8I>DCH RL>I=BJAI>EA:8D 6JI=DGH #((&)'($)&$JC:  
          6K6>A67A:6I6CI>IGJHIHDJG8: 8DB 


                                                   
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 )*L>I=,D7:GI#CB6C Q.>B:ID8IDCI=: DJC9>C< 6I=:GHT0>H>DC;DG'6C6<>C<I=:
           *6C9:B>8 R.=:">AA EG>A   6K6>A67A:6I=IIEH I=:=>AA 8DB DE>C>DC ;>C6C8:  I>B: ID
           68I DC I=: ;DJC9>C< ;6I=:GH K>H>DC ;DG B6C6<>C< I=: E6C9:B>8 
 B>8JHJG>6:-J7B>HH>DCIDI=:/ - -JEG:B:DJGI>C  *)!$"" #$&%$&(          
          >CE:I>I>DC;DGG:=:6G>C<:C76C86ADC<L>I=A6L6C9:8DCDB>8HH8=DA6GH 




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